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                  EXHIBIT 2
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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
                                                                    -   -   -   -   -   X

     VIRGINIA L. GIUFFRE ,


                           Plaintiff ,
                                                                    Case No . :
             - against -                                            15-cv-07433 - RWS


     GHISLAINE MAXWELL ,


                           Defendants.


     -   -   -    -    -   -   -   -   -    -   -   -   -   -   -   -   -   -   -   -   X



                                           **CONFIDENTIAL**


                           Videotaped deposition of GHISLAINE
                 MAXWELL , taken pursuant to subpoena , was
                 held at the law offices of BOIES
                 SCHILLER          &   FLEXNER, 575 Lexington
                 Avenue, New York, New York , commencing
                 April 22, 2016, 9: 04 a.m., on the above
                 date , before Leslie Fagin, a Court
                 Reporter and Notary Public in the State
                 of New York .



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                      New York, New York 10026




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                                                                Page 2
 1
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 3
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     BY:       JEFFREYS. PAGLIUCA, ESQUIRE
19             LAURA A. MENNINGER, ESQUIRE
20
21   Also Present:
22       James Christe , videographer
23
24
25




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 2   absolutely everything that took place in that

 3   first meeting.      She has lied repeatedly ,

 4   often and is just an awful fantasist.          So

 5   very difficult for anything to take place

 6   that she repeated because I was with her

 7   mother the entire time.

 8         Q.      So did you have - - did you give a

 9   massage with Virginia Roberts and Mr. Epstein

10   during the first time Virginia Roberts was at

11   the West Palm Beach house?

12                MR. PAGLIUCA:    Object to the form

13         and foundation.

14         Q.      Yes or no?

15         A.      No.

16         Q.      Have you ever given a massage with

17   Virginia Roberts ln the room and Jeffrey

18   Epstein?

19                MR. PAGLIUCA:    Object to the form

20         and foundation.

21         A.     No.

22         Q.      Have you ever given Jeffrey Epstein

23   a massage?

24                MR. PAGLIUCA:    Object to the form ,

25         foundation.     And I ' m going to instruct




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                                                               Page 2 0
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 2          you not to answer that question.         I

 3          don't have any problem with you asking
 4          questions about what the subject matter
 5          of this lawsuit is, which would be, as
 6         you've termed it, sexual trafficking of
 7         Ms. Roberts .
 8               To the extent you are asking for
 9          information relating to any consensual

10         adult interaction between my client and

11         Mr. Epstein, I'm going to instruct her
12         not to answer because it ' s not part of
13         this litigation and it is her private
14         confidential information , not subject to
15         this deposition.
16               MS. MCCAWLEY:     You can instruct her

17         not to answer.      That is your right.       But

18         I will bring her back for another

19         deposition because it is part of the
20         subject matter of this litigation so she
21         should be answering these questions.
22         This is civil litigation, deposition and
23         she should be responsible for answering
24         these questions.

25               MR. PAGLIUCA:     I disagree and you




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 2          understand the bounds that I put on it.
 3                 MS. McCAWLEY:    No,    I don't.     I will
 4          continue to ask my questions and you can

 5          continue to make your objections .

 6          Q.     Did you ever participate from the

 7    time period of 1992 to 2 00 9, did you ever

 8   participate in a massage with Jeffrey Epstein

 9   and another female?

10                 MR. PAGLIUCA:    Objection.        Do not

11         answer that question.          Again, to the

12         extent you are asking for some sort of

13          illegal activity as you've construed in

14         connection with this case I don't have

15         any problem with you asking that

16         question.     To the extent these questions

17         involve consensual acts between adults,

18         frankly,    they're none of your business

19         and I will instruct the witness not to

20         answer.
21                 MS. McCAWLEY:   This case involves

22         sexual trafficking , sexual abuse,

23         questions about her having interactions

24         with other females is relevant to this

25         case.     She needs to answer these




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 2         questions.

 3                MR. PAGLIUCA:    I 'm instructing her

 4         not to answer.

 5                MS. McCAWLEY:    Then we will be back

 6         here again.

 7         Q.     Have you ever given a massage to

 8   Mr. Epstein with a female that was under the

 9   age of 18?

10         A.      Can you repeat the question?

11         Q.     Yes .   Have you ever given a massage

12   to Mr. Epstein with a female that was under

13   the age of 18?

14         A.     No.

15         Q.     Have you ever observed Mr. Epstein

16   having a massage given by an individual, a

17   female, who was under the age of 18?

18         A.     No.

19         Q.     Have you ever observed females

20   under the age of 18 in the presence of

21   Jeffrey Epstein at his home?

22                MR. PAGLIUCA:    Object to the form

23         and foundation.

24         A.     Again, I have friends that have

25   children




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